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 2    (Firm State Bar No. 14000)
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      Attorneys for Defendant Mark Brnovich in
 9
      his official capacity as Arizona Attorney
10    General
11
12                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF ARIZONA
13
14   Paul A. Isaacson, M.D., on behalf of
     himself and his patients, et al.,
15                                                Case No. 2:21-cv-01417-DLR
             Plaintiffs,
16          v.                                     NOTICE OF WITHDRAWAL OF
17                                                 COUNSEL (BRUNN W.
     Mark Brnovich, Attorney General of            ROYSDEN III)
18   Arizona, in his official capacity, et al.,

19            Defendants.

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 1         NOTICE IS HEREBY GIVEN that Brunn (“Beau”) W. Roysden III, due to his
 2   departure from the Arizona Attorney General’s Office on October 7, 2022, is withdrawing
 3
     as counsel for Defendant Arizona Attorney General Mark Brnovich in this matter. All other
 4
     counsel for Defendant Arizona Attorney General Mark Brnovich will remain the same.
 5
           The Clerk of the Court is requested to terminate Mr. Roysden as counsel for Arizona
 6
     Attorney General Mark Brnovich and discontinue sending him ECF notices in this case.
 7
 8
           RESPECTFULLY SUBMITTED this 17th day of October, 2022.
 9
10                                           MARK BRNOVICH
11                                           ATTORNEY GENERAL

12                                           By /s/ Michael S. Catlett
                                             Michael S. Catlett (No. 25238)
13
                                             Kate B. Sawyer (No. 34264)
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20                                           Attorneys for Defendant Mark Brnovich in his
21                                           official capacity as Arizona Attorney General

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 1                               CERTIFICATE OF SERVICE
 2
           I hereby certify that on this 17th day of October, 2022, I electronically filed the
 3
 4   foregoing with the Clerk of the Court for the United States District Court for the District

 5   of Arizona using the CM/ECF filing system. Counsel for all parties are registered CM/ECF
 6
     users and will be served by the CM/ECF system pursuant to the notice of electronic filing.
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 9
                                               /s/ Michael S. Catlett
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